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                             UNITED STATES DISTRICT COURT
                                       FOR THE
                                  DISTRICT OF MAINE


MICHAEL S. GRENDELL,
       Plaintiff
               v.                                    CIVIL ACTION NO.: 1:19-cv-00419-JDL

STATE OF MAINE, et al.,
       Defendants.


                                STIPULATION OF DISMISSAL

       NOW COME the parties, by and through their respective attorneys, pursuant to Fed. R.

Civ. P. 41(a)(1)(A)(ii), and hereby stipulate to a dismissal of this action with prejudice and

without costs to any party

DATED: December 9, 2020                               Respectfully submitted,

                                                      AARON M. FREY
                                                      Attorney General

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                                                      Counsel for Defendants




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                                   CERTIFICATE OF SERVICE

       I hereby certify that on this, the 9th day of December, 2020, I electronically filed the

above document with the Clerk of Court using the CM/ECF system which will send notification

of such filing to the following:

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                                                     /s/ Christopher C. Taub
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